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                                UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                      ORLAND DIVISION

                                                               CASE NO. 6:17-cv-00278 –Orl-28KRS

ABDULLAH RABBAT,
    Plaintiff,

vs.

COVINGTON SPECIALTY
INSURANCE COMPANY, a Florida
corporation,
       Defendant.                                   |

                      NOTICE OF COMPLIANCE WITH COURT ORDER

        Plaintiff, Abdullah Rabbat, by and through undersigned counsel, hereby gives notice of

compliance with this Honorable Court’s November 30, 2017 Court Order (document #53)

compelling discovery responses, in that on December 12, 2017, Plaintiff has served its Responses

to Defendant’s Request for Production and Answers to Defendant’s Interrogatories, via e-mail

service.

                                     CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on December 12, 2017, a true and correct copy of the
foregoing was emailed to: Christopher Ramey, Esq., cramey@butler.legal; wlewis@butler.legal.
                                          Respectfully submitted,

                                                        /s/ Yemil Aragon
                                                        Florida Professional Law Group, PLLC
                                                        Yemil Aragon, Esq.
                                                        Florida Bar No. 110322
                                                        4600 Sheridan St., Suite 303
                                                        Hollywood, FL 33021
                                                        Tel. (954) 284-0900
                                                        Fax. (954) 284-0747
                                                        E-mail: yaragon@flplg.com
                                                        E-mail: eservice@flplg.com
                                                        Attorneys for Plaintiff, Abdullah Rabbat

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